            Case 2:20-cr-00049-TOR        ECF No. 75        filed 06/23/22      PageID.191 Page 1 of 2
 PROB 12C                                                                                Report Date: June 23, 2022
(6/16)

                                       United States District Court                       FILED IN THE
                                                                                      U.S. DISTRICT COURT
                                                                                EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                  Jun 23, 2022
                                        Eastern District of Washington               SEAN F. MCAVOY, CLERK



                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: George Thomas Lovell                      Case Number: 0980 2:20CR00049-TOR-1
 Address of Offender:                             Liberty Lake, Washington 99019
 Name of Sentencing Judicial Officer: The Honorable George P. Kazen, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: June 17, 2016
 Original Offense:          Conspiracy to Transport Undocumented Aliens within the United States, 8 U.S.C. §
                            1324(a)(1)(A)(ii), (a)(1)(A)(v)(I), and (a)(1)(B)(I)
 Original Sentence:         Prison - 16 months;              Type of Supervision: Supervised Release
                            TSR - 36 months

 Revocation Sentence:       Prison - 35 days;
 (April 20, 2022)           TSR - 12 months
 Asst. U.S. Attorney:       Michael James Austen Ellis       Date Supervision Commenced: April 20, 2022
 Defense Attorney:          Federal Public Defender         Date Supervision Expires: April 19, 2023


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 06/22/2022.

On April 22, 2022, the conditions of supervised release were reviewed with Mr. Lovell. He signed his revocation
judgment for case number 2:20CR00049-TOR-1, acknowledging his understanding of his conditions of supervision.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             5          Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                        substance. The defendant shall submit to one drug test within 15 days of release from
                        imprisonment and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: It is alleged Mr. Lovell is in violation of his conditions of supervised
                        release by using fentanyl on or around June 13, 2022.

                        On June 13, 2022, Mr. Lovell provided a random urinalysis test at Pioneer Human Services.
                        The urine sample was sent to the contract laboratory to test for fentanyl. On June 23, 2022,
                        the lab confirmed the test to be positive for fentanyl.
Case 2:20-cr-00049-TOR   ECF No. 75   filed 06/23/22   PageID.192 Page 2 of 2
